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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                         :        CHAPTER 13
                                               :
DOMINIC FABBIA and                             :
PATRICIA FABBIA                                :        CASE NO. 18-17959
                Debtors                        :

                        NOTICE OF MOTION, RESPONSE DEADLINE
                                 AND HEARING DATE

         Salmon Country, Inc., has filed with the Court a Motion For Relief From Stay.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult an attorney.)

        1.     If you do not want the court to grant the relief sought in the motion or if you want
the court to consider your views on the motion, then on or before January 31, 2019, you or your
attorney must do all of the following:

         (a)    file an answer explaining your position at

         Clerk of Court
         United States Bankruptcy Court
         Eastern District of Pennsylvania
         900 Market Street
         Suite 400
         Philadelphia, PA 19107

If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early enough so
that it will be received on or before the date stated above; and

         (b)    mail a copy to the movant’s attorney:

         Joshua A. Gildea
         Fitzpatrick Lentz & Bubba, P.C.
         4001 Schoolhouse Lane
         P. O. Box 219
         Center Valley, PA 18034-0219
         Phone (610) 797-9000
         Fax (610) 797-6663
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        2.    If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b)
above and attend the hearing, the court may enter an order granting the relief requested in the
motion.

       3.      A hearing on the motion is scheduled to be held before the Honorable Ashely M.
Chan, United States Bankruptcy Judge on February 12, 2019 at 11:00 AM in Courtroom No. 4,
United States Bankruptcy Court, 900 Market Street, Philadelphia, PA 19107.

        4.      If a copy of the motion is not enclosed, a copy of the motion will be provided to you
if you request a copy from the attorney named in paragraph 1(b).

       5.     You may contact the Bankruptcy Clerk’s office in Philadelphia at 215-408-2800 or
Reading at 610-208-5040 to find out whether the hearing has been canceled because no one filed an
answer.


Dated: January 17, 2019

                                              JOSHUA A. GILDEA

                                              FITZPATRICK LENTZ & BUBBA, P.C.
                                              4001 Schoolhouse Lane
                                              P. O. Box 219
                                              Center Valley, PA 18034-0219
                                              Telephone (610) 797-9000
                                              Telefax (610) 797-6663


                                              By:     /s/ Joshua A. Gildea
                                                      Attorney for Movant
